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                 1 CALLAHAN & BLAINE,APLC                                  ^,_"?f Jt~L 29 Pty 2~ 52
                   Daniel J. Callahan(SBN 91490)
                 2 Edward Susolik(SBN 151081)                               ~       ', 11 J           ~~   r   ~.   ~   I


                   Raphael Cung(SBN 201829)                                                          ,t
                                                                                       3r-.i~ I:~ r'.: c~~
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                 4 Santa Ana, California 92707
                   Telephone (714)241-4444
                 5
                     Attorneys for Drew Harbur
                 6

                 7

                 8                       UNITED STATES DISTRICT COURT
                 9                     CENTRAL DISTRICT OF CALIFORNIA
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                1 1 ~ UNITED STATES OF AMERICA,                   Case No. SA CR No. 19-061-JV S
    o~          12                     Plaintiff,                 THIRD PARTY DREW HARBUR'S                                 X
z -~"   ~P~                                                       NOTICE OF MOTION AND                                      Q
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      z Q? U 13            v.                                     MOTION TO QUASH SUBPOENA                                  ~.~..
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    ~ w~~~                                                        IN A CRIMINAL CASE
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            14 MICHAEL JOHN AVENATTI,
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                                                                  [Filed concurrently with Declaration of
    Q W U w ~
,~L' O~ ¢ Oa    IS                     Defendant.                 Drew Harbur]                                              m
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~' LL Z~ 3 16                                                     Hon. James V. Selna
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v Q~a F y
                                                                  Date: August 3, 2021
                17                                                Time: 9:00 a.m.
                                                                  Dept.: l OC
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                22 TO THE COURT AND ALL PARTIES:

                23        PLEASE TAKE NOTICE that on August 3, 2021, at 9 a.m. in Courtroom 1C
                24 of the above-captioned district court located at 411 West Fourth Street, Santa Ana,

                25 Calfornia, 92701, third party, Drew Harbur, through his counsel, Callahan &Blaine,

                26   APLC, will and hereby does move to quash the Subpoena in a Criminal Case served

    V           27 on him on July 26, 2021.

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                                      MOTION TO QUASH SUBPOENA IN A CRIMINAL CASE
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                 1        This motion will be based upon this Notice of Motion and Motion, the
                 2 concurrently filed Points and Authorities, the Declaration of Drew Harbur, and such

                 3 other pleadings and argument as the Court may consider.

                 4

                 5 Dated: July 29, 2021                 CALL           &     A       ,A
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                                                             Raphael Cung
                 8                                           Drew Harbur
                                                             Attorneys for Drew Harbur
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                     I.     Introduction
                 2          The Defendant stands accused of, among other things, defrauding various
                 3 clients out of millions of dollars. Each client-victim has (or will) testify in this

                 4   matter and be subject to extensive cross-examination by the Defendant himself. But
                 5 the Defendant has now decided that such cross-examination, however many hours it

                 6   may span, is not enough. Therefore, the Defendant has taken the extraordinary step
                 7 of subpoenaing oral testimony and documents from the lawyers who currently

                 8 represent those client-victims, either(1)in connection with ongoing civil lawsuits

                 9 against the Defendant —ironically, to recover the very funds the Defendant stole in
                10'' the first place —and/or(2) in connection with their testimony against Defendant in

                     the instant criminal trial.
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   o            12          For example, the Defendant has subpoenaed Drew Harbur, a senior trial
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   azQ?v        13 attorney with the firm Callahan &Blaine, APLC,the firm serving as current counsel
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    ;~~~~ 14 for Geoffrey Johnson. The Defendant has demanded that Mr. Harbur provide both
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x o~<aa 15           oral testimony and voluminous documents. Mr. Johnson, as the Court knows, is
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a ~°<~3 16 Client No. 1 in the Government's indictment of the Defendant. The Defendant
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                1 7 knows that Mr. Harbur represents Mr. Johnson in an ongoing civil matter against the

                18 Defendant to recover the millions of dollars the Defendant stole from Mr. Johnson.

                19 The Defendant also knows that Mr. Harbur represented Mr. Johnson in connection

                20   with the day-long testimony he provided in this matter on July 22, 2021. This
                21 ' included an appearance by Mr. Harbur in front of Your Honor, prior to Mr.

                22 ~' Johnson's testimony, to discuss concerns about Mr. Johnson's testimony invading

                23 the attorney-client privilege and to also discuss confidentiality agreements

                24 applicable to arbitration proceedings related to Mr. Johnson's civil lawsuit against

                25 the Defendant and certain former employees/partners of the Defendant's law firm,

                26 Eagan Avenatti, LLP. In addition to serving as counsel to a witness in this matter, it

                27 should be noted that Mr. Harbur has zero first-hand knowledge of the facts

                28   underlying both the civil and criminal cases filed against the Defendant.

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                                         MOTION TO QUASH SUBPOENA IN A CRIMINAL CASE
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                          Moreover, any opinion Mr. Harbur may have regarding the civil liability of former
                    2 employees/partners of Eagan Avenatti, LLP, is irrelevant to this jury's determination

                    3     ofthe Defendant's criminal culpability and it is also protected work product. For
                    4 these reasons alone, the Defendant's request for testimony from Mr. Harbur should

                    5     be denied.
                    6           Additionally, the Defendant has also requested that Mr. Harbur produce
                    7     voluminous documents related to the Arbitration Proceedings including, but not
                    8     limited to,(1)deposition transcripts of witnesses who evidently have not even
                    9 testified (and likely will not) in this matter,(2) unverified pleading and briefs
                   10 submitted by Mr. Johnson's lawyers outlining civil theories of liability under

                          California law, and (3) written decisions prepared by the arbitrator. These
w Z0   o     12 documents are not relevant, constitute multiple levels of hearsay (in most instances),
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    azQev    13 constitute a fishing expedition for information the Defendant hopes "may"
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  3 ~ LL      materialize into some sort of defense, and therefore are an improper use of Rule 17
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           IS trial subpoenas. In fact, the Defendant's similar (and improper) use of Rule 17 trial
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       O~Qy ~W ~   16 subpoenas was denied in the context of his recent conviction in New York. See
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                   17     United States v. Avenatti, No. S119CR373PGG,2020 WL 508682, at * 1 (S.D.N.Y.
                   18     Jan. 31, 2020)(granting motion to quash the Defendant's Rule 17 subpoena because
                   19 it had "the earmarks of a fishing expedition premised on a mere hope that something

                   20, useful will turn up.")(internal quotations omitted).

                   21 !         For each ofthese reasons and those outlined more fully below, Mr. Harbur
                   22 requests that the Court grant this Motion to Quash. In the alternative, Mr. Harbur

                   23 requests that the Court significantly limit the scope of any potential testimony in a

                   24     hearing outside the jury's presence and significantly reduce the scope ofthe
                   25     document production sought by the Defendant.
                   26 II.       Facts
                   27           The instant criminal proceedings relate to, among other things, the
                   28 ~ Defendant's representation of Mr. Johnson from approximately 2011 through 2019.

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                                             MOTION TO QUASH SUBPOENA IN A CRIMINAL CASE
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               1 In mid-2019, when Mr. Johnson realized that the Defendant had stolen the
               2 settlement money he was supposed to receive from a $4 million settlement reached

               3   with the County of Los Angeles, Mr. Johnson sought civil counsel. Mr. Johnson
               4 retained Callahan &Blaine, APLC, Mr. Harbur's firm, who filed a civil lawsuit on

               5   his behalf on June 11, 2019(the "Civil Case"). (Harbur Decl. ¶ 2.) The Civil Case
               6   was filed against the Defendant, his personal corporation, his former law firm (i.e.,
               7 Eagan Avenatti, LLP), and former partners/employees of Eagan Avenatti, LLP:

               8 Michael Q. Eagan, Jason M. Frank, Jason Frank Law,PLC, Scott H. Sims, and

               9 Judith K. Regnier. (Harbur Decl. ¶ 3.) The unverified complaint filed in the Civil
              10 Case relies on theories ofjoint and several liability under California civil law — in

              11   other words, there is no dispute that the Defendant was the primary and lead bad
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           12 actor with respect to defrauding Mr. Johnson.
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.~ °ZQe~ 13          Following the filing of the Civil Case, Mr. Johnson arbitrated his claims
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    J ~~~< l4 against Messrs. Eagan, Frank, Sims and Jason Frank Law,PLC (the "Arbitration
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~ ~ zz ~ ~  15 Proceedings") and those proceedings are now final. (Harbur Decl. ¶ 4.) The Civil
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              16 Case was stayed as to the other defendants, including Avenatti, during the pendency
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              17 ofthe Arbitration Proceedings. The Defendant was aware ofthe Arbitration

              18 Proceedings and knows they are final because the Defendant personally appeared at

              19 a Case Management Conference in the Civil Case on May 20, 2021, where he

              20 objected to the setting of a trial date. (Harbur Decl. ¶ 5, Ex. A.) The stay put in

              2l   place in the Civil Case as to the Defendant has been lifted and a trial date has been
              22 set. (Harbur Decl. ¶ 6.) Mr. Harbur's firm, Callahan &Blaine, APLC,continues to

              23 represent Mr. Johnson in the ongoing Civil Case against the Defendant. (Harbur

              24 Decl. ¶ 7.)

              25         On July 22, 2021, Mr. Johnson appeared and testified in the instant criminal
              26 ~ matter. (Harbur Decl. ¶ 8.) Mr. Johnson is "Client No. 1" in the Government's

              27 indictment. Mr. Johnson was represented by Mr. Harbur in connection with his

              28 testimony. (Harbur Decl. ¶ 9.) Mr. Harbur appeared in front of Your Honor prior to

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                 1   Mr. Johnson's testimony, to raise concerns regarding attorney-client privilege and
                 2 the confidentiality of the Arbitration Proceedings. (Harbur Decl. ¶ 10.) Your Honor

                 3 carefully considered the arguments of counsel and ultimately ruled that Mr. Johnson

                 4 would be required to answer questions from the Defendant about the Arbitration

                 5 Proceedings. (Harbur Decl. ¶ 11.) Mr. Johnson complied, answering hours of

                 6 questions from the Defendant regarding, among other things, the Arbitration

                 7 Proceedings. (Id.) The length of the Defendant's cross-examination of Mr. Johnson

                 8 even led the Court to comment,"Mr. Avenatti, the right to cross-examination is

                 9 broad but it is not unlimited." (Id.)

                10         Following Mr. Johnson's testimony, and on July 26, 2021, the Defendant
                11   served a subpoena (the "Subpoena")on the receptionist at Callahan &Blaine,
W Z0  o    12 APLC, Mr. Harbur's firm. (Harbur Decl. ¶ 12.) Witness fees were not tendered.
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        ?U ]3 (Id.) The Subpoena seeks oral testimony from Mr. Harbur and also includes four
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    a gora      14 requests for documents. (Harbur Decl. ¶ 13, Ex. B.)
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                           On July 28, 2021, Callahan &Blaine, APLC,served objections on Mr.
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                16 Harbur's behalf and subsequently filed the instant Motion to Quash. (Harbur Decl.
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                17 ¶ 14, Ex. C.)

                18 III.    Rule 17 is Narrow Means to Obtain Relevant, Admissible, Specific
                19         Evidence
                20         Federal Rule of Criminal Procedure 17(c) provides that "[a] subpoena may
                21   order the witness to produce any books, papers, documents, data, or other objects
                22 the subpoena designates. The court may direct the witness to produce the

                23 designated items in court before trial or before they are to be offered in evidence."

                24 Fed. R Crim. P. 17(c)(1). Of particular relevance here,"Rule 17(c) was not

                25   intended to provide an additional means of discovery" to a defendant in a criminal
                26 case. Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951);

                27 see, e.g., United States v. Caro, 597 F.3d 608,620 (4th Cir. 2010)("We have

                28 emphasized that Rule 17(c) is not a discovery device")(internal citation omitted).

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                  1   Rather,"[i]ts chief innovation was to expedite the trial by providing a time and
                  2 place before trial for the inspection of the subpoenaed materials." Bowman, at 220

                  3 (citing United States v. Md. & Ya. Milk Producers Assn, 9 F.R.D. 509, 510(D.D.C.

                  4   1949)). "Unlike subpoenas that are returnable prior to trial, however, subpoenas for
                  5   impeachment material are only returnable `if and when[ ]the witness who has made
                  6 . the statement takes the stand and testifies. The defendant only then is entitled to

                  7 inspect [these] statements...." Id. (quoting United States v. James, No. 02-CV-0778

                  8 (SJ)(CLP), 2007 WL 914242, at *29(E.DN.Y. Mar. 21, 2007)(quoting United

                 0 States v. Palermo, 21 F.R.D. 11, 13 (S.D.N.Y. 1957))).
                 10         The proponent of a subpoena must demonstrate "(1) relevancy;(2)
                 11   admissibility;[and](3)specificity" of the requested materials. United States v.
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           l2 Nixon, 418 U.S. 683,699-700(1974); see United States v. Pac. Gas & Elec. Co.,
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    azQ~?v 13 No. 14-CR-175, 2016 WI., 3365754, at *3(N.D. Cal. June 17, 2016)("the same
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  J ~~~< 14 standard applies" to Rule 17(c) trial subpoenas as Rule 17(c) pre-trial
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         15 subpoenas; see also Stern v. United States, 214 F.3d 4, 17 (1st Cir. 2000)(holding
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                 16 that materials requested with a subpoena duces tecum must be relevant, admissible
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                 17 and specific). "Relevancy" under this test requires a "sufficient likelihood" that the

                 18 subpoenaed records are "relevant to the offenses charged in the indictment." Nixon,

                 19 418 U.S. at 699-700 (internal citation omitted). There must also be a "sufficient

                 20 preliminary showing" that the subpoenaed material "contains evidence admissible

                 21   with respect to the offenses charged in the indictment." Id. at 701. The party
                 22 seeking the subpoenaed documents shoulders the burden of"show[ing] the

                 23 evidentiary nature of the requested material with appropriate specificity." United

                 24 States v. Shinderman, 232 F.R.D. 147, 149(D. Me. 2005). Additionally, a party

                 25   seeking a Rule 17(c)subpoena must also demonstrate that the application is made in
                 26 good faith and is not intended as a general "fishing expedition." Nixon,418 U.S. at

                 27 699-700 (citing United States v. Ionia, 13 F.R.D. 335, 338(S.D.N.Y. 1952)

                 28 (Weinfeld, J.))(footnote omitted).

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                l         A.     The Request for Oral Testimony from Mr. Johnson's Lawyer is a
                2               (Harassing) Fishing Expedition and Will Not Lead to Relevant,
                3                Admissible Evidence
                4         Mr. Johnson's counsel, Mr. Harbur, does not have any relevant, admissible
                5 testimony to offer in this matter. Mr. Harbur has no firsthand knowledge ofthe
                6 conduct underlying criminal allegations in this matter, or the conduct underlying the
                7 allegations in any other matter filed against the Defendant, civil or criminal. See
                8 Fed. R. Evid. 602. Further, Mr. Harbur's impressions and analysis ofthe civil
                9 liability offormer employees of Eagan Avenatti, LLP, under California law is (1)
               10 protected work product, and (2) not relevant to this jury's determination of the
               11   Defendant's criminal liability. Additionally, Mr. Johnson has already testified at
 w Zo0     12 length about the Arbitration Proceedings and his understanding of the events/
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    ~ ~~~~ 13 resolution attendant to those proceeding. For these
.-7                                                               further reasons, any testimony
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   3jO    ~z 14  from Mr. Harbur on these matters would be cumulative and irrelevant. See, e.g.,
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              l6       The request for oral testimony from Mr. Harbur is also burdensome and
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               17 harassing. Mr. Harbur's firm currently represents Mr. Johnson in an ongoing civil
               l8 litigation against the Defendant. (See, e.g., Harbur Decl. ¶ 2, 7.) The Defendant is
               19 well aware of that fact based on (1) Mr. Johnson's testimony in this matter on July
               20 22, 2021, in which Mr. Harbur was identified in the courtroom as Mr. Johnson's
               21   lawyer, and (2)the fact that the Defendant is now representing himself in the civil
               22 matter and recently appeared at a Case Management Conference, in which Mr.
               23 Harbur also participated. (See Harbur Decl. ¶ 5, Ex. A.) Courts are generally
               24 extremely hesitant to allow counsel to be examined by opposing parties. As the
               25 courts in this district have stated, albeit in the context of civil proceedings:
               26
                                 Undoubtedly, counsel's task in preparing for trial would
               27                be much easier if he could ... simply depose opposing
               28                counsel in an attempt to identify the information that


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                                  opposing counsel has decided is relevant and important
                 2                to his legal theories and strategy.... Taking the deposition
                                  of opposing counsel not only disrupts the adversarial
                 3                system and lowers the standards of the profession, but it
                 4                also adds to the already burdensome time and costs of
                                  litigation. It is not hard to imagine additional pretrial
                 5                delays to resolve work-product and attorney-client
                 6                objections, as well as delays to resolve collateral issues
                                  raised by the attorney's testimony. Finally, the practice
                 7                of deposing opposing counsel detracts from the quality
                 8                of client representation. Counsel should be free to
                                  devote his or her time and efforts to preparing the
                 9                client's case without fear of being interrogated by his or
                10                her opponent. Moreover, the `chilling effect' that such
                                  practice will have on the truthful communications from
                                  the client to the attorney is obvious.
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z °~"           12 Moroccanoil, Inc. v. Marc Anthony Cosms., Inc., No. CV 132747DMGAGRX,2014
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      zQ?v      13   WL 12591805, at *3(C.D. Cal. May 29, 2014)(citing Shelton v. Am. Motors Corp.,
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 ;~~~a 14 805 F.2d 1323, 1327(8th Cir. 1986). The concerns outlined by the court in
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x sZZ~~ 15 Moroccanoil are equally present here. Consequently, the Defendant's request for
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                16 oral testimony from Mr. Harbur should be denied.
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                17         B.     The Subpoena's Request for Documents Is Improper, Harassing,
                18                and Burdensome and Will Not Lead to Admissible, Relevant
                19                Evidence
                20         The Subpoena requests voluminous documents without regard for their
                21   relevance or admissibility. As a threshold matter, the Defendant is misusing the
                22 Subpoena —atrial subpoena — to conduct afar-reaching (and misguided)

                23   investigation of defenses he hopes might materialize. See, e.g., United States v.
                24 Rand, 835 F.3d 451, 463 (4th Cir. 2016)("The right to defend oneself does not

                25   extend to using the power ofthe Court to compel third parties to provide
                26   information that may not even be admissible at trial or at a hearing or that is merely
                27 `investigatory"')(internal citation omitted); see United States v. Noriega, 764

                28 F.Supp. 1480, 1493 (S.D. Fla. 1991)("If the moving party cannot reasonably

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                    specify the information contained or believed to be contained in the documents
                2 ~ sought but merely hopes that something useful will turn up, this is a sure sign that

                3 ~ the subpoena is being misused.").

                4         For example, Request No. 1 demands "any sworn testimony" provided by
                5 Mr. Johnson in connection with the Arbitration Proceedings, regardless ofthe
                6 content. However, the Defendant has already questioned Mr. Johnson at length

                7 about his testimony in the Arbitration Proceedings and his understanding ofthose

                8 proceedings. Mr. Johnson testified that his testimony in the Arbitration Proceedings

                9 was entirely consistent with his testimony in the instant criminal proceedings.

               10 As such, further testimony regarding Mr. Johnson's prior testimony is not relevant,

               11   cumulative, will only waste the Court's time and confuse the jury, and constitutes a
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W Zg           12 fishing expedition. See, e.g., Fed. R. Evid.403;see Nixon,418 U.S. at 699-700
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               14         Request No.2 demands the "decision(s), award(s), and findings ofthe
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x oZZ=~        ]5   arbitrator ...." Subpoena at 2. The findings ofthe arbitrator in connection with a
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               16 civil proceeding against former employees/partners of Eagan Avenatti, LLP —and
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               t7   which did not include the Defendant —are not relevant to this jury's determination
               1 8 ofthe Defendant's guilt or innocence. The findings and decisions, to the extent

               1 9 there are any, would also constitute multiple levels of hearsay and be inadmissible

               20 on those grounds. See, e.g. Fed. R. Evid. 801-802, 805.
               ~~         Request No.3 demands "[a]ny submissions made by Mr. Johnson in
               ?~ connection with the Arbitration," including those made "through counsel." As the
               ~; Defendant knows well from his days as a civil litigator, Mr. Johnson would not have
               ~~ made any "submissions" during the Arbitration, other than through his testimony.

               25   All pleadings and briefing (i.e.,"submissions") would have been prepared by his
               ~6 counsel. To that extent, the civil theories of liability pursued in pleadings/briefs
               ~7 prepared by Mr. Johnson's counsel are of no relevance or consequence to this jury,
               ~g   who have been tasked with determining the Defendant's responsibility for his

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                 1 ~ individual criminal conduct. If anything, injecting civil theories ofjoint and several
                 2 ~ liability under California law would only result in the undue consumption of time

                 3 ~ and confusion for the jury. See, e.g., Fed. R. Evid. 403.

                 4          Request No.4 demands "any sworn testimony provided in connection with
                 5   the Arbitration by any former employee or partner of Eagan Avenatti, LLP." As a
                 6 threshold matter, such testimony is hearsay and is not relevant or admissible. See,

                 7 e.g. Fed. R. Evid. 801-802. Additionally, it is unclear if any such former

                 8 employees/partners of Eagan Avenatti, LLP, have been (or will be called) as

                 9 witnesses in this matter, meaning any testimony they may have given in connection
                10   with the Arbitration Proceedings is inadmissible and irrelevant, nor can it be
                11   properly subpoenaed as "impeachment" evidence at this juncture. See, e.g., Fed. R.
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    J ~~~a 14              The Defendant should not be allowed to consume the time and resources of
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                15   the Court, the jury, and now third parties, by engaging in an improper fishing
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          Q~    16 expedition. Nor should the Defendant be allowed to retaliate against his victims and
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                17 their current lawyers under the guise of a Rule 17 trial subpoena. The Defendant

                18   has already cross-examined Mr. Johnson for hours about the Arbitration
                19 Proceedings. If the Defendant believes further questions must be asked, he can
                20 subpoena the actual witnesses who testified in those proceedings. After all, those

                21   are the only individuals with first-hand knowledge of the underlying events.
                22         For each of these reasons and those outlined more fully above, Mr. Harbur
                23   requests that the Court grant this Motion to Quash. In the alternative, Mr. Harbur
                24 requests that the Court significantly limit the scope of any potential testimony in a

                25   hearing outside the jury's presence and significantly reduce the scope of the
                26   document production sought by the Defendant.
                27
                   ~ For example, Judith K. Regnier did not provide a deposition or provide any sworn testimony a
                28 the arbitration hearing in connection with the Arbitration Proceedings. (Harbur Decl. 15.)



                                         MOTION TO QUASH SUBPOENA IN A CRIMINAL CASE
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                     Dated: July 29, 2021              CALL ~N & L                 E,    C
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                 4                                           Raphael Cung
                                                             Drew Harbur
                 5                                           Attorneys for Drew Harbur
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                                      MOTION TO QUASH SUBPOENA 1N A CRIMINAL CASE
            Case 8:19-cr-00061-JVS Document 610 Filed 07/29/21 Page 13 of 14 Page ID #:11128




                                                   PROOF OF SERVICE
                                              (CODE CN.PROC.§ 1013A(3))
                 3                  STATE OF CALIFORNIA,COUNTY OF ORANGE
                4           I am employed in the County of Orange, State of California. I am over the
                     a~ge of 18~ years and am not a party to the within action• my business address is 3
                     Hutton Centre Drive, Ninth Floor, Santa Ana,California 92707.
                           On July 29,2021,I served the following documents)described as:
                      THIRD PARTY DREW HARBUR'S NOTICE OF MOTION AND MOTION
                               TO QUASH SUBPOENA IN A CRIMINAL CASE
                8
                     on the interested parties in this action by placing: ❑the original ❑D a true copy
                9    thereof enclosed in a sealed envelope addressed as follows:
                10                            Please see attached "Service List"
                11    O    BY MAIL: I deposited such envelope in the mail at Santa Ana, California.
                           The envelope was mailed with postage thereon fully prepaid. I am "readily
     0          12         familiar" with the firm's practice of collection and processing
z   Z°o                    correspondence for mailing. It is deposited with the United States Postal
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                13         Service on that same day in the.ordinary course.af business. I am aware that
m a zN <                   on motion of party served, service is presumed invalid if postal cancellation
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    V¢J~Q       14         date or postage meter date is more khan one(1)day after date of deposit for
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                16         Nationwide Legal to the addressees below.
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                17    ❑    BY FEDERAL EXPRESS: I deposited such envelopes at Santa Ana,
                           California for collection and delivery by Federal Express with delivery fees
                l8         laid or provided for in accordance with ordinary business practices. I am
                            `readily familiar" with the firm's practice of collection and processing
                19         packages for overnight delive by Federal Express. They are depos~ted with
                           a facility regularly maintained~y Federal Express for receipt on the same day
                20         in the ordinary course of business.
                21    D    BY EMAIL: I transmitted the foregoing documents by electronic mail to the
                           party(s) identified on the attached service list by using the electronic mail as
                22         indicated. Said electronic mail was verified as complete and without error.
                23       I declare that T am employed in the office of a member ofthe bar ofthis court
                   at whose direction the service was made. I declare under penalty of perjury under
                24 the laws of the United States of America and the State of California that the
                   foregoing is true and correct.
                25
                           Executed on July 29, 2021,,,at Santa Ana, California.
                26                                               < --~-..,

                z~
                                                             Jane Nichols
                28



                                                        Proof of Service
         Case 8:19-cr-00061-JVS Document 610 Filed 07/29/21 Page 14 of 14 Page ID #:11129




               1                              SERVICE LIST
               2                              USA v. Avenatti
                                     USDC Case No. SA CR No.19-061-JVS
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              4    ~c ae    venati   ro se                    or   e en ant   is ae   venatti
              5 H. Dean Steward, ~sq.(Advisory Counsel)
                17 Corporate Plaza, Suite 250
              5 New ort Beach, CA 92660
               ( 949481-4940
              7 deansteward7777 ~,~mail.com

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